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1    KEVIN V. RYAN (CASBN 118321)
     United States Attorney
2
     EUMI L. CHOI (WVSBN 0722)
3    Chief, Criminal Division
4    ROBERT DAVID REES (CASBN 229441)
     Assistant United States Attorney
5
        450 Golden Gate Avenue, Box 36055
6       San Francisco, California 94102
        Telephone: (415) 436-7210
7       Fax: (415) 436-7234
8    Attorneys for Plaintiff
9                               UNITED STATES MAGISTRATE COURT
10                              NORTHERN DISTRICT OF CALIFORNIA
11                                     SAN FRANCISCO DIVISION
12   UNITED STATES OF AMERICA,                     )       No. CR 05 671 WHA
                                                   )
13           Plaintiff,                            )       [PROPOSED] ORDER AND
                                                   )       STIPULATION FOR CONTINUANCE
14      v.                                         )       FROM NOVEMBER 14, 2005 TO
                                                   )       NOVEMBER 22, 2005 AND EXCLUDING
15   JOSE FRANCISCO LEYVA and                      )       TIME FROM THE SPEEDY TRIAL ACT
     JAMES EDWARDS,                                )       CALCULATION (18 U.S.C. §
16                                                 )       3161(h)(8)(A))
             Defendants.                           )
17                                                 )
18           With the agreement of the parties, and with the consent of the defendants, the Court
19   enters this order scheduling an initial appearance before the district court on November 22, 2005
20   at 2:00P.M. before the Honorable William H. Alsup, and documenting the defendants’ exclusion
21   of time under the Speedy Trial Act, 18 U.S.C. § 3161(b), from November 14, 2005 to November
22   22, 2005. The parties agree, and the Court finds and holds, as follows:
23           1. The defendants agreed to an exclusion of time under the Speedy Trial Act. Failure to
24   grant the requested continuance would unreasonably deny defense counsel reasonable time
25   necessary for effective preparation, taking into account the exercise of due diligence.
26           2. Given these circumstances, the Court found that the ends of justice served by
27   excluding the period from November 14, 2005 to November 22, 2005, outweigh the best interest
28   of the public and the defendants in a speedy trial. § 3161(h)(8)(A).
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1           3. Accordingly, and with the consent of the defendants, the Court ordered that the period
2    from November 14, 2005 to November 22, 2005 be excluded from Speedy Trial Act calculations
3    under 18 U.S.C. § 3161(h)(8)(A) & (B)(iv).
4
5
6           IT IS SO STIPULATED:
7
8    DATED: January 10, 2006             ____________/s___________________
                                         DAVID FERMINO, ESQ.
9                                        Attorney for Defendant Jose Francisco Leyva
10
11   DATED: January 10, 2006             ____________/s___________________
                                         ERIK BABCOCK, ESQ.
12                                       Attorney for Defendant James Edwards
13
14   DATED: January 10, 2006             ____________/s___________________
                                         ROBERT DAVID REES
15                                       Assistant United States Attorney
16
17          IT IS SO ORDERED.
18
19           1/17/06
     DATED:________________              _______________________________
                                         HON. NANDOR VADAS
20                                       United States Magistrate Judge
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